Case 1:18-Cv-23097-CI\/|A Documen`t 12 Entered on FLSD Docket 08/24/2018 Page 1 of 1

v .W`

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RETQRN OF SERV|CE

uwr“i“ED STATES nimmer comm
SOUTl-IERN District of Fiorida

Cese Numb€r: 18-CV-2 SOQY~CMA

Plain§ff:

lMPLG.N'!' $EM|NARS, lNC.

vs,

Defendant:

SAMUEL SOON HO LEE, ET. AL.,

For: Aamn Tandy,
PATHNW.N LEW!S. LL_P

Race§ved by OJF SERVICES, tNC. on the Brd day of August, 2018 at 10 .49 am to be sawed on lNTERNATIDNAL
ACABEMY OF DENTAL IMPLANTOLC>GY, LLC 672? FLANDF.RS RWE SUlTE 220, SAN DEEGO, ¢A 92121 l.

do hereby amrm that on the 3 day of ‘1' 26__ \‘3 \DE m.
executed 'ce by dativezing a true copy of the SLIMMONS AND COMPLA!NT in a dance with state statutes in the
manner marked below:

 

{ ) PUBLIC AGENCY: By serving as of the with|n~
named agency
{ }SUBSTITUTE SERV§CE: By serving as

 

 

MCYTCOLRQ?TE §§RM HZM[@HTSR SM\’GY\ _W\Gm£l$ as

( }OTHER SERVICE: As described' m the Comments below by serving as

 

( ) NON SERVECE: For the rBaSD!'I detailed in the Commanfs below
COMMENTS:

 

 

 

 

l CERT|FV THAT¥ AM OVER THE AGE Df~' 18 AND HAVE NO ENTEREST IN THE ABOVE ACT!ON. "UI‘$EFZ PENALTY OF
PERJURY, | DECLARE THATJ HAVE READ THE FOREGO!NG (DOCUMENT] AND THAT THE FACTS S`Z‘ATED 1N lT ARE
TRUE“.

PR.C§ 6'161

ESS SE

Appo|nted m aceord|:nce wiih State Statutes
OJF SER\I|CES, lNC.

13?27 S.W. 152nd Streat

P.M.B. 354

Mi‘ami, FL 33177

(786} 293-5750

Our Job Sarial Number: 2018010848

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